           Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 1 of 21




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

1. EVA KOPADDY, as Personal                            )
   Representative of the Estate of                     )
   Ronald Given, Deceased,                             )
                                                       )
                                  Plaintiff,           )
                                                       )
v.                                                     )     Case No. CIV-20-1280-G
                                                       )
1. POTTAWATOMIE COUNTY PUBLIC                          )   JURY TRIAL DEMANDED
   SAFETY CENTER, an Oklahoma Title 19                 )
   Authority; et al.,                                  )
                                                       )
                                  Defendants.          )

        ANSWER OF BRAD BANEY TO FIRST AMENDED COMPLAINT

      Defendant Brad Baney, individually and in his official capacity as Lieutenant of

the Pottawatomie County Public Safety Center, by and through counsel of record and for

his answer to Plaintiff’s First Amended Complaint filed herein, does allege and state as

follows:

                                Jurisdiction and Venue

      1.      Defendant admits this action is being brought pursuant to 42 U.S.C. § 1983

and seeks relief under the provisions of the United States Constitution and Oklahoma

state law. Defendant denies any violation of any of Plaintiff’s rights as guaranteed by the

laws of the State of Oklahoma or the United States Constitution as alleged in ¶ 1 of

Plaintiff’s First Amended Complaint.

      2.      Defendant admits that jurisdiction for such question would be appropriate

pursuant to 28 U.S.C. § 1331 as alleged in ¶ 2 of Plaintiff’s First Amended Complaint.
            Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 2 of 21




Defendant denies that this Court has jurisdiction as there has been no violation of any of

Plaintiff’s federal civil rights.

       3.      Defendant denies that this Court has jurisdiction under the Federal

Declaratory Judgment Act as alleged in ¶ 3 of Plaintiff’s First Amended Complaint as the

First Amended Complaint fails to assert any request for declaratory relief.

       4.      Defendant admits that venue is proper as alleged in ¶ 4 of Plaintiff’s First

Amended Complaint.

       5.      Defendant admits that Plaintiff is seeking in excess of $75,000 in damages

as alleged in ¶ 5 of Plaintiff’s First Amended Complaint. Defendant denies that Plaintiff

is entitled to any damages, costs, interest or any other relief as may be sought or alleged

in this litigation.

       6.      Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in ¶ 6 of Plaintiff’s First Amended Complaint

and therefore denies the same.

       7.      Defendant admits the allegations as alleged in ¶ 7 of Plaintiff’s First

Amended Complaint.

       8.      Defendant objects to ¶ 8 of Plaintiff’s First Amended Complaint as it

violates the provisions of Fed. R. Civ. P. 8(a) requiring each allegation to be “simple,

concise and direct” and Fed. R. Civ. P. 10(b) limiting a claim “to a simple set of

circumstances.” To the extent a response is necessary, Defendant admits that Defendant

Breonna R. Thompson was the Executive Director of the Pottawatomie County Public

Safety Center at all times relevant to this action and is being sued both in her individual

                                             2
            Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 3 of 21




and official capacities. Defendant denies, as phrased, the remaining allegations of ¶ 8 of

Plaintiff’s First Amended Complaint.

       9.      The allegations contained in ¶ 9 of Plaintiff’s First Amended Complaint are

not directed at this Defendant and do not require a response from this Defendant. To the

extent any response is necessary, Defendant is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in ¶ 9 of Plaintiff’s

First Amended Complaint and therefore denies the same.

       10.     Defendant objects to ¶ 10 of Plaintiff’s First Amended Complaint as it

violates the provisions of Fed. R. Civ. P. 8(a) requiring each allegation to be “simple,

concise and direct” and Fed. R. Civ. P. 10(b) limiting a claim “to a simple set of

circumstances.” To the extent a response is necessary, Defendant admits that he was and

is a Lieutenant with the Pottawatomie County Public Safety Center and is being sued in

both his individual capacity and official capacity as alleged in ¶ 10 of Plaintiff’s First

Amended Complaint. Defendant denies, as phrased, the remaining allegations contained

in ¶ 10 of Plaintiff’s First Amended Complaint.

       11.     The allegations contained in ¶ 11 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent any response is necessary, Defendant is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in ¶ 11 of Plaintiff’s

First Amended Complaint and therefore denies the same.

       12.     The allegations contained in ¶ 12 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

                                              3
          Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 4 of 21




the extent any response is necessary, Defendant is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in ¶ 12 of Plaintiff’s

First Amended Complaint and therefore denies the same.

       13.    The allegations contained in ¶ 13 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent any response is necessary, Defendant is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in ¶ 13 of Plaintiff’s

First Amended Complaint and therefore denies the same.

       14.    To the extent the allegations contained in ¶ 14 of Plaintiff’s First Amended

Complaint are directed at this Defendant, Defendant would admit that he was acting

under color of law within the meaning of 42 U.S.C. § 1983. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the allegations

contained in ¶ 14 of Plaintiff’s First Amended Complaint as they relate to any other

Defendant and therefore denies the same.

       15.    To the extent the allegations contained in ¶ 15 of Plaintiff’s First Amended

Complaint are directed at this Defendant, Defendant denies the allegations contained in ¶

15 of Plaintiff’s First Amended Complaint. Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 15

of Plaintiff’s First Amended Complaint as they relate to any other Defendant and

therefore denies the same.




                                              4
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 5 of 21




       16.    Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in ¶ 16 of Plaintiff’s First Amended Complaint

and therefore denies the same.

       17.    To the extent Defendant took any actions or inactions related to Plaintiff’s

allegations, Defendant admits that Plaintiff’s claims arose in Pottawatomie County, State

of Oklahoma inside the United States District Court for the Western District of Oklahoma

as alleged in ¶ 17 of Plaintiff’s First Amended Complaint.

                                  Factual Background

       18.    The allegations contained in ¶ 18 of Plaintiff’s First Amended Complaint

do not require a response from this Defendant. Should a response be deemed necessary,

Defendant hereby incorporates his responses to ¶¶ 1-17 as set forth above.

       19.    The allegations contained in ¶ 19 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 19

of Plaintiff’s First Amended Complaint and therefore denies the same.

       20.    The allegations contained in ¶ 20 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 20

of Plaintiff’s First Amended Complaint and therefore denies the same.



                                             5
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 6 of 21




       21.    The allegations contained in ¶ 21 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 21

of Plaintiff’s First Amended Complaint and therefore denies the same.

       22.    The allegations contained in ¶ 22 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 22

of Plaintiff’s First Amended Complaint and therefore denies the same.

       23.    The allegations contained in ¶ 23 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 23

of Plaintiff’s First Amended Complaint and therefore denies the same.

       24.    The allegations contained in ¶ 24 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 24

of Plaintiff’s First Amended Complaint and therefore denies the same.

       25.    The allegations contained in ¶ 25 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

                                             6
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 7 of 21




the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 25

of Plaintiff’s First Amended Complaint and therefore denies the same.

       26.    The allegations contained in ¶ 26 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant. To

the extent a response is deemed necessary, Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in ¶ 26

of Plaintiff’s First Amended Complaint and therefore denies the same.

       27.    Defendant objects to ¶ 27 of Plaintiff’s First Amended Complaint as it

violates the provisions of Fed. R. Civ. P. 8(a) requiring each allegation to be “simple,

concise and direct” and Fed. R. Civ. P. 10(b) limiting a claim “to a simple set of

circumstances.” To the extent a response is necessary, Defendant denies the allegations

contained in ¶ 27 of Plaintiff’s First Amended Complaint.

       28.    Defendant objects to the statements in ¶ 28 of Plaintiff’s First Amended

Complaint as they are nothing more than personal opinions of counsel. Defendant asserts

that any video will speak for itself. To the extent a response is necessary, Defendant

denies the allegations set forth in ¶ 28 of Plaintiff’s First Amended Complaint.

       29.    Defendant objects to the statements in ¶ 29 of Plaintiff’s First Amended

Complaint as they are nothing more than personal opinions of counsel. Defendant asserts

that any video will speak for itself. To the extent a response is necessary, Defendant

denies the allegations set forth in ¶ 29 of Plaintiff’s First Amended Complaint.



                                             7
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 8 of 21




       30.    Defendant objects to ¶ 30 of Plaintiff’s First Amended Complaint as it

violates the provisions of Fed. R. Civ. P. 8(a) requiring each allegation to be “simple,

concise and direct” and Fed. R. Civ. P. 10(b) limiting a claim “to a simple set of

circumstances.” Moreover, Defendant objects to the statements in ¶ 30 of Plaintiff’s First

Amended Complaint as they are nothing more than personal opinions of counsel.

Defendant asserts that any video will speak for itself. The allegations contained in ¶ 30

of Plaintiff’s First Amended Complaint are not directed at this Defendant and do not

require a response from this Defendant. To the extent a response is deemed necessary,

Defendant denies the multiple allegations made in ¶ 30 of Plaintiff’s First Amended

Complaint.

       31.    Defendant objects to the statements in ¶ 31 of Plaintiff’s First Amended

Complaint as they are nothing more than personal opinions of counsel. Defendant asserts

that any video will speak for itself. The allegations contained in ¶ 31 of Plaintiff’s First

Amended Complaint are not directed at this Defendant and do not require a response

from this Defendant. To the extent a response is deemed necessary, Defendant denies the

allegations contained in ¶ 31 of Plaintiff’s First Amended Complaint.

       32.    Defendant objects to the statements in ¶ 32 of Plaintiff’s First Amended

Complaint as they are nothing more than personal opinions of counsel. Defendant asserts

that any video will speak for itself. The allegations contained in ¶ 32 of Plaintiff’s First

Amended Complaint are not directed at this Defendant and do not require a response

from this Defendant. To the extent a response is deemed necessary, Defendant denies the

allegations contained in ¶ 32 of Plaintiff’s First Amended Complaint.

                                             8
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 9 of 21




      33.    Defendant admits Decedent was transported from the jail to the local

Shawnee Hospital. Defendant is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained in ¶ 33 of Plaintiff’s First

Amended Complaint and therefore denies the same.

      34.    Defendant admits that at some point Decedent stripped out of his clothes

while in a jail cell. Defendant denies the remaining allegations contained in ¶ 34 of

Plaintiff’s First Amended Complaint.

      35.    Defendant denies the allegations contained in ¶ 35 of Plaintiff’s First

Amended Complaint.

      36.    Defendant admits the allegations contained in ¶ 36 of Plaintiff’s First

Amended Complaint.

      37.    The allegations contained in ¶ 37 of Plaintiff’s First Amended Complaint

are not directed at this Defendant and do not require a response from this Defendant.

Moreover, the statements are self-serving and an incorrect summation of the Medical

Examiner’s report, which speaks for itself. To the extent a response is deemed necessary,

Defendant denies the allegations, as phrased, the allegations contained in ¶ 37 of

Plaintiff’s First Amended Complaint.

      38.    To the extent the allegations are directed at the Pottawatomie County

Public Safety Center staff or this Defendant, Defendant denies the allegations contained

in ¶ 38 of Plaintiff’s First Amended Complaint. To the extent the allegations are directed

to the Shawnee Police Department or its officers, this Defendant is without knowledge or



                                            9
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 10 of 21




information sufficient to form a belief as to those allegations in ¶ 38 of Plaintiff’s First

Amended Complaint and therefore denies the same.

       39.    To the extent the allegations are directed at the Pottawatomie County

Public Safety Center staff or this Defendant, Defendant denies the allegations contained

in ¶ 38 of Plaintiff’s First Amended Complaint. To the extent the allegations are directed

to the Shawnee Police Department or its officers, this Defendant is without knowledge or

information sufficient to form a belief as to those allegations in ¶ 38 of Plaintiff’s First

Amended Complaint and therefore denies the same.

                               First Cause of Action
         Deliberate Indifference in Violation of the Fourteenth Amendment

       40.    The allegations contained in ¶ 40 of Plaintiff’s First Amended Complaint

do not require a response from this Defendant. Should a response be deemed necessary,

Defendant hereby incorporates his responses to ¶¶ 1-39 as set forth above.

       41.    The allegations contained in ¶ 41 of Plaintiff’s First Amended Complaint

are nothing more than a legal opinion and does not require a response from this

Defendant. To the extent a response is deemed necessary, Defendant denies, as phrased,

the insinuations and allegations contained in ¶ 41 of Plaintiff’s First Amended Complaint.

       42.    The allegations contained in ¶ 42 of Plaintiff’s First Amended Complaint

are nothing more than a legal opinion and does not require a response from this

Defendant. To the extent a response is deemed necessary, Defendant denies, as phrased,

the insinuations and allegations contained in ¶ 42 of Plaintiff’s First Amended Complaint.

       43.    Defendant is without knowledge as to the allegations contained in ¶ 43 of

Plaintiff’s First Amended Complaint related to the Decedent being removed from
                                            10
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 11 of 21




psychiatric care and therefore denies the same.        Defendant denies the remaining

allegations contained in ¶ 43 of Plaintiff’s First Amended Complaint.

      44.    Defendant denies the allegations contained in ¶ 44 of Plaintiff’s First

Amended Complaint.

      45.    Defendant denies the allegations contained in ¶ 45 of Plaintiff’s First

Amended Complaint.

      46.    Defendant denies the allegations contained in ¶ 46 of Plaintiff’s First

Amended Complaint.

      47.    Defendant denies the allegations contained in ¶ 47 of Plaintiff’s First

Amended Complaint.

      48.    Defendant denies the allegations contained in ¶ 48 of Plaintiff’s First

Amended Complaint.

      49.    Defendant denies the allegations contained in ¶ 49 of Plaintiff’s First

Amended Complaint and specifically denies that Plaintiff is entitled to any damages as

may be alleged in ¶ 49 or elsewhere in Plaintiff’s First Amended Complaint.

                              Second Cause of Action
      Excessive Force in Violation of the Fourth and Fourteenth Amendments

      50.    The allegations contained in ¶ 50 of Plaintiff’s First Amended Complaint

do not require a response from this Defendant. Should a response be deemed necessary,

Defendant hereby incorporates his responses to ¶¶ 1-49 as set forth above.

      51.    Defendant denies the allegations contained in ¶ 51 of Plaintiff’s First

Amended Complaint.


                                           11
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 12 of 21




      52.    To the extent the allegations contained in ¶ 52 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

52 of Plaintiff’s First Amended Complaint.

      53.    To the extent the allegations contained in ¶ 53 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

53 of Plaintiff’s First Amended Complaint.

      54.    Defendant denies the allegations contained in ¶ 54 of Plaintiff’s First

Amended Complaint.

      55.    Defendant denies the allegations contained in ¶ 55 of Plaintiff’s First

Amended Complaint.

      56.    Defendant denies the allegations contained in ¶ 56 of Plaintiff’s First

Amended Complaint.

                                Third Cause of Action
                   Violation of Civil Rights Under 42 U.S.C. § 1983

      57.    The allegations contained in ¶ 57 of Plaintiff’s First Amended Complaint

do not require a response from this Defendant. Should a response be deemed necessary,

Defendant hereby incorporates his responses to ¶¶ 1-56 as set forth above.

      58.    To the extent the allegations contained in ¶ 58 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

58 of Plaintiff’s First Amended Complaint.

      59.    The allegations in ¶ 59 of Plaintiff’s First Amended Complaint contain a

legal opinion and do not require a response from this Defendant. To the extent a


                                             12
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 13 of 21




response is deemed necessary from this Defendant, Defendant denies, as phrased, the

allegations contained in ¶ 59 of Plaintiff’s First Amended Complaint.

       60.    The allegations contained in ¶ 60 are a policy statement set forth by

Plaintiff. To the extent the allegations contained in ¶ 60 require a response from this

Defendant, Defendant denies, as phrased, the allegations contained in ¶ 60 of Plaintiff’s

First Amended Complaint.

       61.    Defendant objects to ¶ 61 of Plaintiff’s First Amended Complaint as it

violates the provisions of Fed. R. Civ. P. 8(a) requiring each allegation to be “simple,

concise and direct” and Fed. R. Civ. P. 10(b) limiting a claim “to a simple set of

circumstances.” To the extent a response is necessary and the allegations are directed at

the Pottawatomie County Public Safety Center and staff, Defendant admits that Breonna

Thompson is the Executive Director of the Pottawatomie County Public Safety Center

and responsible for the administration and control of the operations of the facility as

alleged in ¶ 61 of Plaintiff’s First Amended Complaint. Defendant denies the

Pottawatomie County Public Safety Center is a legal entity subject to suit. Defendant

denies, as phrased, the remaining allegations related to the jail and its staff contained in ¶

61 of Plaintiff’s First Amended Complaint. To the extent the allegations are directed to

the Shawnee Police Department or its officers, this Defendant is without knowledge or

information sufficient to form a belief as to those allegations in ¶ 61 of Plaintiff’s First

Amended Complaint and therefore denies the same.

       62.    The allegations contained in ¶ 62 are a policy statement set forth by

Plaintiff. To the extent the allegations contained in ¶ 62 require a response from this

                                             13
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 14 of 21




Defendant, Defendant denies, as phrased, the allegations contained in ¶ 62 of Plaintiff’s

First Amended Complaint.

      63.    The allegations contained in ¶ 63 are a policy statement set forth by

Plaintiff. To the extent the allegations contained in ¶ 63 require a response from this

Defendant, Defendant denies, as phrased, the allegations contained in ¶ 63 of Plaintiff’s

First Amended Complaint.

      64.    To the extent the allegations contained in ¶ 64 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

64 of Plaintiff’s First Amended Complaint.

      65.    To the extent the allegations contained in ¶ 65 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

65 of Plaintiff’s First Amended Complaint.

      66.    To the extent the allegations contained in ¶ 66 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

66 of Plaintiff’s First Amended Complaint.

      67.    To the extent the allegations contained in ¶ 67 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

67 of Plaintiff’s First Amended Complaint.

      68.    To the extent the allegations contained in ¶ 68 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

68 of Plaintiff’s First Amended Complaint.



                                             14
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 15 of 21




      69.    To the extent the allegations contained in ¶ 69 of Plaintiff’s First Amended

Complaint are directed to this Defendant, Defendant denies the allegations contained in ¶

69 of Plaintiff’s First Amended Complaint.

      70.    Defendant denies the allegations contained in ¶ 71 of Plaintiff’s First

Amended Complaint.

      71.    The allegations contained in ¶ 71 of Plaintiff’s First Amended Complaint

amount to nothing more than a policy statement by Plaintiff. To the extent a response is

deemed necessary, Defendant denies, as phrased, the general allegations contained in ¶

71 of Plaintiff’s First Amended Complaint.

      72.     Defendant denies the allegations contained in ¶ 72 of Plaintiff’s First

Amended Complaint.

      73.    Defendant denies the allegations contained in ¶ 73 of Plaintiff’s First

Amended Complaint.

      74.    Defendant denies the allegations contained in ¶ 74 of Plaintiff’s First

Amended Complaint.

      75.    Defendant denies the allegations contained in ¶ 75 of Plaintiff’s First

Amended Complaint.

      76.    Defendant denies the allegations contained in ¶ 76 of Plaintiff’s First

Amended Complaint.

      77.    Defendant denies the allegations contained in ¶ 77 of Plaintiff’s First

Amended Complaint.



                                             15
            Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 16 of 21




       78.      Defendant denies the allegations contained in ¶ 78 of Plaintiff’s First

Amended Complaint.

       79.      Defendant denies the allegations contained in ¶ 79 of Plaintiff’s First

Amended Complaint, specifically denies that any of the actions alleged were reckless,

intentional and/or life threatening and denies that Plaintiff is entitled to any award of

punitive damages.

       80.      Defendant denies the allegations contained in Plaintiff’s “WHEREFORE”

clause of Plaintiff’s First Amended Complaint and specifically denies that Plaintiff is

entitled to any judgment against any Defendant, entitled to any actual or compensatory

damages, any aware of punitive damages, any attorney’s fees, costs or any other relief

that may be sought by Plaintiff during the course of this litigation.

       81.      Any allegation, assertion or statement set forth in Plaintiff’s First Amended

Complaint and not admitted, denied or otherwise addressed in this Answer is hereby

denied.

                                        DEFENSES

       Defendant Brad Baney, individually and in his official capacity as Lieutenant of

the Pottawatomie County Public Safety Center, and for his defenses to Plaintiff’s claims,

alleges and states:

       1.       Plaintiff’s First Amended Complaint fails to state a claim for relief or

remedy against Defendant Baney under 42 U.S.C. § 1983 or under any federal statutory

or constitutional provision.



                                              16
            Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 17 of 21




       2.       To the extent Plaintiff has sued Defendant in his individual capacity,

Defendant Baney is entitled to the defense of qualified immunity.

       3.       To the extent Plaintiff has sued Defendant in his official capacity,

Defendant Baney is not a proper party for any official capacity claims as he is not the

final policymaker or final responsible party for the operation of the Pottawatomie County

Public Safety Center and therefore, has no official capacity.

       4.       Defendant Baney did not personally participate in any action, inaction or

decision related to any aspect of Decedent’s January 2019 incarceration in the

Pottawatomie County Public Safety Center.

       5.       There is no evidence that the need for more or different training was so

obvious, and/or any inadequacy so likely to result in the violation of constitutional rights

that Defendant could reasonably be said to have been deliberately indifferent to the need

for additional training.

       6.       Defendant cannot be held liable in his individual capacity under § 1983 for

any state or federal constitutional violations resulting from the acts of any agent, servant

or employee under the doctrine of respondeat superior or vicarious liability.

       7.       To the extent Defendant Barney is a proper party in his official capacity,

Defendant has not executed or implemented any policy or procedure which can be found

in any ordinance, regulation, policy statement or decision officially adopted by the

Defendant, or found in a pattern of persistent practices known to and approved by the

Defendant that would be considered unconstitutional.



                                             17
            Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 18 of 21




       8.       The alleged actions of staff at the Pottawatomie County Public Safety

Center were reasonable and proper under the circumstances which officers observed,

knew or should have known.

       9.       Plaintiff has failed to set forth any allegations that would create a material

issue of fact as to the requisite culpable state of mind of deliberate indifference on behalf

of Defendant Baney.

       10.      If any violation of Decedent’s civil rights occurred, which is denied, any

violations were committed by third parties over whom this Defendant had no supervision

or control.

       11.      None of Decedent’s federal constitutional or statutory rights were violated.

       12.      Decedent received appropriate and timely medical and mental health care

while incarcerated in the Pottawatomie County Public Safety Center.

       13.      All of Defendant Baney’s actions, inactions or decisions, if any, were

reasonable under the facts and circumstances known or believed by him at that time.

       14.      To the extent such damages are sought, Plaintiff has failed to state a claim

for any punitive damages against Defendant.

       15.      An award of punitive damages against Defendant, in his individual

capacity, would violate his constitutional rights of due process under the Fourteenth

Amendment.

       16.      To the extent such damages are sought, punitive damages may not be

awarded against this Defendant in his official capacity.



                                              18
            Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 19 of 21




       17.      Defendant did not have any knowledge of or was aware of any of the events

or decisions described in Plaintiff’s First Amended Complaint.

       18.      There was no underlying unconstitutional act that would impose liability on

the Defendant.

       19.      Plaintiff has failed to set forth which, if any, federal constitutional

provisions were allegedly violated by any of the alleged conduct of Defendant.

       20.      A violation of a jail policy does not assert a federal constitutional violation

or claim.

       21.      State law is irrelevant to Plaintiff’s federal constitutional law claims.

       22.      Defendant was not deliberately indifferent with regard to the training,

supervision or discipline of Pottawatomie County Public Safety Center staff.

       23.      No act or omission by Defendant caused Decedent harm or his alleged

constitutional violations.

       24.      Defendant is entitled to settlement credit or an offset, regarding any

settlement with any other party in this case, pursuant to Okla. Stat. tit. 12, § 832(H), other

state law, and/or federal common law.

       25.      Defendant asserts the benefit of Okla. Stat. tit. 12, § 3009.1 regarding the

admissibility of medical expenses, if applicable.

       26.      Defendant claims the benefit of Okla. Stat. tit. 23, § 61.2 on limitations of

damages, if applicable.

       27.      The First Amended Complaint fails to allege any specific violation or

specific action by this Defendant.

                                               19
         Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 20 of 21




       28.    As a pretrial detainee, Plaintiff’s First Amended Complaint fails to allege a

cause of action against this Defendant under the Fourth or Eighth Amendments.

       29.    Plaintiff’s injuries and damages, if any, were caused by and the result of

Plaintiff’s own culpable actions and/or conduct.

       30.    Plaintiff’s injuries and damages, if any, were caused by and were the result

of third-parties and individuals over whom this Defendant had no authority or control.

       31.    Defendant respectfully reserves the right to add additional affirmative

defenses as it may become known through discovery.

       WHEREFORE, having fully answered Plaintiff’s First Amended Complaint,

Defendant Brad Baney, individually and in his official capacity as Lieutenant of the

Pottawatomie County Public Safety Center, prays that Plaintiff take nothing by way of

her Complaint and respectfully requests that Defendant Baney be dismissed from this

case, granted judgment in his favor as to all causes of action, and be awarded attorney’s

fees, costs and any other relief this Court deems just and proper.

                                                   Respectfully submitted,


                                                   s/ Wellon B. Poe
                                                   Wellon B. Poe, OBA No. 12440
                                                   COLLINS ZORN & WAGNER, P.C.
                                                   429 N.E. 50th Street, Second Floor
                                                   Oklahoma City, OK 73105
                                                   Telephone: (405) 524-2070
                                                   Facsimile: (405) 524-2078
                                                   Email:       wbp@czwlaw.com

                                                   ATTORNEY FOR DEFENDANT
                                                   BRAD BANEY


                                             20
        Case 5:20-cv-01280-G Document 22 Filed 03/30/21 Page 21 of 21




                           CERTIFICATE OF SERVICE

      I hereby certify that on March 30, 2021, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants:

      Ronald “Skip” Kelly
      205 N.W. 63rd Street, Suite 150
      Oklahoma City, OK 73116

      Kevin R. Kemper
      Attorney at Law
      128 W. Hefner
      Oklahoma City, OK 73114

      Chanda R. Graham
      Chanda Graham, PLLC
      PO Box 7771
      Oklahoma City, OK 73118

      Attorneys for Plaintiff

      Robert S. Lafferrandre
      Carson C. Smith
      Pierce Couch Hendrickson
        Baysinger & Green, L.L.P.
      1109 N. Francis Avenue
      Oklahoma City, OK 73106

      Attorneys for Defendants Jake Duggan
      and Korbin Williams


                                               s/ Wellon B. Poe
                                               Wellon B. Poe




                                          21
